                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

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                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                                No. 19-MJ-6087-MPK
                                    )
GREGORY ABBOT et al.,               )
            Defendants              )
                                    )
___________________________________ )

    DEFENDANT ROBERT ZANGRILLO’S MOTION TO PERMIT SPECIFIC AND
    LIMITED INTERNATIONAL BUSINESS TRAVEL TO MONTREAL CANADA

       Now comes the defendant Robert Zangrillo, by and through undersigned counsel, and

hereby respectfully moves this Honorable Court to permit him to attend pre-planned business

meetings in Montreal from April 1-3 of this year.

       On March 12, 2019, Mr. Zangrillo appeared in U.S. District Court for the Southern

District of Florida in response to a complaint charging him with one count of conspiracy to

commit mail fraud and honest services mail fraud. Chief U.S. Magistrate Judge John J.

O’Sullivan ordered Mr. Zangrillo released on $500,000 bond. The Court also ordered Mr.

Zangrillo to “[s]urrender all passports and travel documents” and restricted his business travel to

the “continental U.S.” United States v. Zangrillo, No. 19-MJ-2297 (S.D. Fla.), Dkt. 6.

       For the past five years, Mr. Zangrillo has been employed by a private investment firm

focused on venture capital and real estate investments. Mr. Zangrillo is currently involved in a

proposed eight million square foot mixed use development in the Little Haiti neighborhood of

Miami. The project is proposing a $31 million donation to the Little Haiti Community


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Revitalization Trust, which would represent the largest community benefits package ever to be

donated to the city of Miami. There are pre-planned strategic offsite meetings regarding this

project including one scheduled to take place April 1-3 of this year in Montreal, where one of the

development’s principal partners and tenants and that partner’s creative team is based. Mr.

Zangrillo’s personal attendance at these meetings is expected by the partners and would further

the project’s success.

          Mr. Zangrillo does not present any flight or dangerousness risk. He has lived in the

Miami area since 2010 and currently owns a home in Miami Beach. Mr. Zangrillo is fifty-two

years old, has three daughters, has had no prior convictions and no interactions with the criminal

justice system for more than thirty years, has elderly parents both living in Connecticut, and has

retained the undersigned and additional co-counsel to contest the current allegations.

          For the foregoing reasons, Mr. Zangrillo respectfully requests that he be permitted to

attend the upcoming meetings in Montreal. Before doing so, he would need to re-acquire his

passport; after doing so, he will return his passport to pre-trial services. Mr. Zangrillo

alternatively requests that the Court issue a bail order setting forth travel conditions similar to

those imposed on another co-defendant, Douglas Hodge, in this case. See Dkt. 17.

          WHEREFORE, the defendant respectfully requests that the instant motion be allowed.

                                 Local Rule 7.1(a)(2) Certification

          The undersigned counsel conferred with counsel for the Government and the

Government opposes this motion. Pre-trial services has taken no position as of the time of the

filing.




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                                                     Respectfully submitted,

                                                     Robert Zangrillo
                                                     By his Attorneys,

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Dated: March 28, 2019


                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, March 28, 2019, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg


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